               Case 4:21-cv-00292 Document 18-4 Filed on 03/23/21 in TXSD Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                       SouthernDistrict
                                                   __________   Districtofof__________
                                                                             Texas


 Ryan Zachary Ross, Erika Mercado, C. Louis Bunya                    )
 and Drew Hunnicutt, on behalf of themselves and all                 )
             others similarly situated                               )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 4:21-cv-00292
                                                                     )
             Robinhood Financial, LLC Et Al.                         )
                                                                     )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Barclays Bank PLC
                                           c/o Barclays Bank PLC
                                           745 Seventh Avenue
                                           New York, NY 10019




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Gabriel A. Assaad
                                           McDonald Worley, P.C.
                                           1770 St. James Place, Suite 100
                                           Houston, TX 77056
                                           Email: gassaad@mcdonaldworley.com


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT
                                                                                    Nathan Ochsner, Clerk of Court


Date:
Date: March 23, 2021
                                                                                          Signature of Clerk or Deputy Clerk
                                                                                     s/ Jacqueline    Mata
                                                                                     Signature of Clerk or Deputy Clerk
                Case 4:21-cv-00292 Document 18-4 Filed on 03/23/21 in TXSD Page 2 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 4:21-cv-00292

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
